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              UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT
                   __________________________________________________

                                 CONCISE SUMMARY OF THE CASE

                     Pursuant to 3rd Cir. LAR 33.3, counsel are required to file a concise summary of
the case within 14 days of the date of docketing of the Notice of Appeal. Total statement is limited to
no more than 2 pages, single-spaced. Counsel may utilize this form or attach a 2 page statement
encompassing the information required by this form.

SHORT SPS CORP I – FUNDO DE INVESTIMENTO EM DIREITOS CREDITÓRIOS NÃO PADRONIZADOS v. GENERAL MOTORS CO., et. al.
CAPTION:_________________________________________________________________________

          22-3331
USCA NO.: ______________________

LOWER COURT or AGENCY and DOCKET NUMBER:
_________________________________________________________________
21-mc-565-CFC


NAME OF
JUDGE:___________________________________________________________________________
      Colm F. Connolly


Specify who is suing whom, for what, and the subject of this action. Identify (1) the nature of the
action; (2) the parties to this appeal; (3) the amount in controversy or other relief involved; and (4) the
judgment or other action in the lower court or agency from which this action is taken:
SPS’s application pursuant to Title 28, United States Code, Section 1782 seeks an order authorizing
SPS to take discovery from General Motors Company for use in a contemplated proceeding in Brazil.

This appeal is taken from the (i) Memorandum Order entered on August 30, 2022 denying SPS’s
application for an order authorizing it to take discovery from General Motors Company solely on the
discretionary factors under Intel and taking into consideration the Brazilian proceeding that was still
pending at the time, disregarding the contemplated foreign proceeding; and (ii) Memorandum Order
entered on November 7, 2022 denying SPS's Motion for Reconsideration of the August 30, 2022
Memorandum Order.

LIST and ATTACH a copy of each order, judgment, decision or opinion which is involved in this
appeal. If the order(s) or opinion(s) being appealed adopt, affirm, or otherwise refer to the report and
recommendation of a magistrate judge or the decision of a bankruptcy judge, the report and
recommendation or decision shall also be attached.
1. Memorandum Order entered on August 30, 2022, attached as Ex. A
2. Memorandum Order entered on November 7, 2022, attached as Ex. B




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                  Case: 22-3331         Document: 12        Page: 2       Date Filed: 12/28/2022
Provide a short statement of the factual and procedural background, which you consider important to
this appeal:
On December 23, 2021, the Appellant filed its “Ex Parte Application for an Order Under 28 U.S.C. § 1782 Permitting
SPS Corp I — Fundo de Investimento em Direitos Creditórios Não Padronizados to Issue a Subpoena for the Taking
of a Deposition and the Production of Documents from General Motors Co., Deloitte & Touche LLP and Ernst &
Young LLP.” The Application sought discovery for use in a pending proceeding in Brazil, as well as in contemplated
proceedings in Brazil — both which were or would be against GM’s wholly owned Brazilian subsidiary, General
Motors do Brasil LTDA. (“GM Brazil”), for monies that GM Brazil owes SPS in connection with a three-decade-long
tax dispute between GM Brazil and the Brazilian federal government for tax credits paid by several GM car
dealerships in Brazil. On August 30, 2022, the Delaware District Court issued the Opinion and Order denying SPS’s
Application solely on the discretionary factors under Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 243,
259 (2004). The District Court weighed Intel factors one and two in favor of General Motors Company, Intel factor
three neutral, and Intel factor 4 in favor of SPS. Critical to the District Court’s opinion was the fact that the pending
Brazilian proceeding was still ongoing, and therefore SPS could obtain the same discovery it sought in the
Application in that Brazilian proceeding. On September 13, 2022, SPS moved to reconsider the District Court’s
Order because, on September 1, 2022, the court in Brazil issued a dispositive order in favor of Appellant in the
pending Brazilian proceeding, which ended the proceeding but left SPS still without the discovery it sought for use in
a contemplated Brazilian proceeding. The District Court denied the motion to reconsider. Appellant appeals both the
denial of its motion for reconsideration and the original denial of its Application.

Identify the issues to be raised on appeal:
Whether the District Court erred in denying the Appellant’s Section 1782 Application on the ground
that Intel factors one and two weighed against it and Intel factor three was neutral, where (i) the
Respondent is not a party to the foreign proceeding in Brazil and will not be a party to the
contemplated foreign proceeding in Brazil (Intel factor one); (ii) the foreign tribunal would be
receptive to the discovery sought in the Application, as SPS has obtained favorable rulings in the
pending foreign proceeding requiring the Respondent’s Brazilian subsidiary (GM Brazil) to produce
the documents—orders that GM Brazil has openly defied and continues to defy (Intel factor two); and
(iii) SPS is not seeking to circumvent foreign proof-gathering restrictions or other policies of a foreign
country or the United States, as the foreign tribunal has not rejected SPS’s requests for the same
documents sought in the Application — indeed, the Brazilian court granted SPS’s requests for the
documents but the Respondent’s Brazilian subsidiary has defied and continues to defy those orders
(Intel factor 3).




This is to certify that this Concise Summary of the Case was electronically filed with the Clerk of the
U.S. Court of Appeals for the Third Circuit and a copy hereof served to each party or their counsel of
record

this   28   day of
                     December
                                   ,20 22 .

/s/ Jason A. Gibson
Signature of Counsel

Rev. 07/2015

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                Exhibit A
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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE



In re Letter ofRequest from SPS                      21-mc-00565-CFC
Corp/




                            MEMORANDUM ORDER

        Pending before me is an application filed by SPS Corp I - Fundo de

Investimento em Direitos Credit6rios Nao Padronizados (SPS) pursuant to 28

U.S.C. § 1782(a) for authorization to issue subpoenas to General Motors Company

(GM) and GM's auditors, Deloitte & Touche LLP (Deloitte) and Ernst & Young

LLP (E&Y) (D.I. 1). SPS seeks documents and depositions for use in pending

discovery and contemplated merits proceedings in Brazil related to the recovery of

certain tax overpayments from GM' s Brazilian subsidiary, General Motors do

Brazil LTDA (GM Brazil). D.I. 2 at 1, 9. GM opposes SPS's § 1782 application,

D.I. 12, and Deloitte, D.I. 15 at 1, and E&Y, D.I. 16 at 1, join in GM's opposition. 1


1
  Deloitte also asks that I deny SPS 's subpoena because Deloitte possesses "no
information regarding [GM Brazil] other than what [Deloitte] may have received
from GM." D.I. 15 at 2. E&Y similarly explains that "SPS has failed to identify
any relevant information in" or "uniquely in" E&Y's possession. D .I. 16 at 1. SPS
does not mention Deloitte or E& Y in its Reply, much less respond to their
arguments. D.I. 28. SPS states in its opening brief that Deloitte and E&Y were
independent auditors of GM, D.I. 2 at 10, but it nowhere explains why E&Y or
Deloitte would have relevant information that GM does not have. Accordingly, I
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       The parties largely agree on how this § 1782 application arose. In 1989,

Brazil made a change to its tax code that lowered the taxes GM Brazil had to pay

to the Brazilian government when it sold new cars to car dealerships. D.I. 2 at 3;

D.I. 2-1, Ex. B ,r 8; D.I. 13 ,r 6. GM Brazil passed these taxes along to the

dealerships. D.I. 2-1, Ex. B ,r 10; D.I. 13 ,r 6. But, for a period of time, Brazil

failed to charge GM Brazil the new and lower tax rate; GM Brazil and,

consequently, the dealerships, paid more than they owed. D.I. 2 at 3; D.I. 2-1, Ex.

B ,r 11; D.I. 13   ,r 6.   GM Brazil, with the consent of the dealerships, initiated a

lawsuit to recover the tax overpayments. D.I. 2-1, Ex. B ,r 11; D.I. 13 ,r 7. Once

the lawsuit and related administrative proceedings conclude, the parties agree that

GM Brazil must remit at least some of the refunds it receives from the Brazilian

government to the dealerships. D.I. 2-1, Ex. B ,r,r 12-13; D.I. 13 ,r 9. SPS says it

acquired the rights to receive those refunds from 35 dealerships. D.I. 2-1, Ex. B ,r

5. The parties appear to disagree about when GM Brazil must make these

payments and whether GM Brazil has been forthcoming about certain information




will also deny as forfeited SPS's application with respect to Deloitte and E&Y.
See In re Seroquel XR Antitrust Litig., 2022 WL 2438934, at* 18 (D. Del. July 5,
2022) (treating the moving party's "failure to address [a point nonmovant made] as
implicitly conceding the point" where the moving party's initial treatment of the
issue was conclusory).

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necessary to determine the size of the reimbursements owed to the dealerships

(and, by extension, to SPS). D.I. 2-1, Ex. B ,r,r 12-14; D.I. 13 ,r,r 9-10.

      After SPS tried and failed to negotiate for additional information with GM

Brazil directly, SPS initiated a discovery proceeding before the 18th Civil Court of

the Central Court of the state of Sao Paulo. D.I. 2 at 5; D.I. 2-1, Ex. B ,r 30. It is

undisputed that the purpose of the discovery proceeding is for SPS to obtain

documents from GM Brazil to determine what allegations SPS could properly

bring in a future merits proceeding. See D.I. 2-1, Ex. B ,r,r 25-26; D.I. 13 ,r 14. In

the Sao Paulo court, SPS seeks from GM Brazil the following materials related to

the tax overpayments at issue: ( 1) internal documents related to their collection and

calculation; (2) accounting records, audit reports, and related materials; (3)

information about administrative proceedings; and (4) information about transfers

of money between GM Brazil and car dealerships. D.I. 2-1 at 64-65. SPS secured

an order from the Sao Paulo court for the discovery it seeks, and GM Brazil then

challenged SPS's discovery demands. D.I. 2-1, Ex. B ,r 36. SPS argues that GM

Brazil's challenge was an improper effort to stonewall the discovery proceedings,

D.I. 2-1, Ex. B ,r 36; GM Brazil disputes that characterization, D.I. 13 ,r 19.

      SPS now turns to this § 1782 application to "put an end to" its ongoing

discovery proceeding, D.I. 2 at 14, and to acquire the evidence needed to "assess

its claim or indemnity against [GM Brazil] and ultimately to file its claim ... in

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Brazil against [GM Brazil,]" D.I. 2-1, Ex. B ,r 40. SPS seeks information from GM

and GM' s auditors about how GM has treated the tax overpayments at issue in its

financial statements and audit and accounting records. In particular, SPS seeks

financial statements and audit reports from GM and GM Brazil from 1990 to 2021,

as well as the following information related to the tax overpayments at issue: (1)

internal documents and communications; (2) accounting records, audit reports, and

related information; (3) information about administrative proceedings; and (4)

information about transfers of money between GM, GM Brazil, and car

dealerships. D.I. 2-1 at 9-11, 28-29, 46-47. It also seeks deposition testimony on

the tax overpayments and their treatment by GM's accountants and auditors. D.I.

2-1 at 17-19, 35-37, 53-55. GM and its auditors oppose the application. D.I. 12;

D.I. 15; D.I. 16.

      A district court has the authority to grant an application under § 1782 when

three statutory conditions are met: (1) the person from whom discovery is sought

"resides or is found" within the district; (2) the discovery is "for use in a

proceeding before a foreign or international tribunal"; and (3) the application is

made by an "interested person." 28 U.S.C. § 1782(a); see also In re Bayer AG,

146 F.3d 188, 193 (3d Cir. 1998). See generally ZF Auto. US, Inc. v. Luxshare,

Ltd, 142 S. Ct. 2078, 2089 (2022) (defining "foreign or international tribunal").



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      If the statutory conditions are satisfied, the decision to grant a § 1782

application lies within the district court's discretion. Intel Corp. v. Advanced

Micro Devices, Inc., 542 U.S. 241,264 (2004). The Court identified in Intel four

factors relevant to that discretionary determination: ( 1) whether "the person from

whom discovery is sought is a participant in the foreign proceeding" since such a

person may possess evidence "unobtainable absent§ 1782(a) aid"; (2) "the nature

of the foreign tribunal," the "character'' of the foreign proceedings, and "the

receptivity" of the foreign court to federal "judicial assistance"; (3) whether the

request "conceals an attempt to circumvent .foreign proof-gathering restrictions";

and (4) whether the request is "unduly intrusive or burdensome." Id. at 264-

65. "A court should apply these factors in support of§ 1782's 'twin aims' of

'providing efficient assistance to participants in international litigation and

encouraging foreign countries by example to provide similar assistance to our

courts."' In re Biomet Orthopaedics Switzerland GmBh, 742 F. App'x 690, 696

(3d Cir. 2018) (quoting Intel, 542 U.S. at 252). The party opposing discovery has

the burden to demonstrate any "'facts warranting the denial"' of an application. In

re Chevron Corp., 633 F.3d 153, 162 (3d Cir. 2011) (citation omitted).

      Having considered and balanced the Intel factors and twin aims of§ 1782(a),

I will deny SPS' s application. Since I would deny SPS 's application under the



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discretionary factors, I need not consider whether SPS' s application meets

§ 1782(a)'s statutory requirements.

      The first factor weighs in GM' s favor because SPS admits it can obtain the

evidence it seeks in the discovery proceeding. I agree with SPS that GM is not a

participant in SPS's pending discovery proceeding before the Sao Paulo court. D.I.

28 at 6. But GM Brazil is a participant. D.I. 2-1, Ex. B ,r 30-31. SPS admits that

"all financial information concerning the[] tax refunds or credits [that GM Brazil

owes to SPS are] in the possession of GM Brazil and its financial professionals."

D.I. 2 at 4. And SPS's Brazilian attorney argues both that GM Brazil lacks a

defense in the discovery proceeding and that the Sao Paulo court has not denied

SPS's discovery request. D.I. 28, Ex. A ,r,r 2--6. The Court noted in Intel that "[a]

foreign tribunal has jurisdiction over those appearing before it, and can itself order

them to produce evidence. In contrast, nonparticipants in the foreign proceeding

may be outside the foreign tribunal's jurisdictional reach; hence, their evidence,

available in the United States, may be unobtainable absent§ 1782(a) aid." 542

U.S. at 264 (citations omitted). Here, even if GM's financial statements include

information about the tax overpayments at issue, D.I. 2 at 6, SPS can obtain the

same information in the pending foreign court proceeding, see D.I. 28, Ex. A ,r 32

(explaining that "documents that show whether and how GM Brazil has taken tax

advantages of [the tax overpayments at issue]" are "requested [from] GM Brazil"

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in Brazil and "are requested from different entities" in this Court). Since much of

the evidence SPS demands is not "evidence ... unobtainable absent§ 1782(a)

aid[,]" Intel, 542 U.S. at 264, the first Intel factor favors GM.

      The second Intel factor instructs me to consider the "character" of the

foreign proceeding and the receptivity of the foreign tribunal to the discovery SPS

seeks. This factor also favors GM. SPS describes its pending proceeding as "a

preliminary discovery lawsuit" and "a mechanism that allows litigants in Brazil to

gather evidence against potential defendants ...." D .I. 2 at 5. Both respect for the

Sao Paulo court and the goal of efficient litigation caution that I should wait until

the pending discovery proceeding concludes. Biomet Orthopaedics, 742 F. App'x

at 696 (quoting Intel, 542 U.S. at 252) (explaining that the '"twin aims"' of§

1782(a) are "'providing efficient assistance"' and "'encouraging ... similar

assistance"' from foreign countries). Otherwise, the Sao Paulo court may not be

receptive to the discovery I order, or I may duplicate that tribunal's efforts. See

D.I. 12 at 23 (arguing that the foreign court's receptivity to what SPS seeks here is

speculative " [u]ntil the Brazilian court decides whether the discovery SPS seeks

[there] is appropriate").

      The Third Intel factor-whether SPS "attempt[s] to circumvent foreign

proof-gathering restrictions"-is neutral, at least for now. 542 U.S. at 265. The

substantial overlap between the information SPS now seeks from GM and already

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sought from GM Brazil leaves SPS in a bind: If SPS overcomes GM Brazil's

challenge to its discovery demands in the Sao Paulo court, D.I. 2-1, Ex. B ,I 36,

SPS' s request to GM before me would largely duplicate the discovery it receives

from GM Brazil; as a result, the first Intel factor would weigh further against SPS.

But, if the Sao Paulo court rules in favor of GM Brazil, any discovery I provide

would likely "circumvent foreign proof-gathering restrictions[,]" Intel, 542 U.S. at

265, because "the foreign tribunal has already rejected requests for the same

documents[,]" In re Ex Parte Application ofEni S.p.A., 2021 WL 1063390, at *4

(D. Del. Mar. 19, 2021) (citing Chevron Corp., 633 F.3d at 163). But see Intel,

542 U.S. at 260 (finding no "blanket foreign-discoverability rule" for§ 1782(a)

assistance). SPS asserts that the Sao Paulo court has not rejected its discovery

requests. D.I. 28 at 2. For now, I will accept SPS's assertion and find this factor

neutral.

      With respect to the final factor, I assume without deciding that the request is

not unduly burdensome and therefore this factor favors SPS. Some of SPS 's

document requests seek information far beyond the scope of this narrow dispute

about tax overpayments. See D.I. 2-1 at 11 ("All documents and communications

concerning audit reports and related documents ...."), 29 (same), 47 (same). But

I may be able strike those requests, narrow the subpoenas, and eliminate the undue

burden.

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      Thus, the balance of the Intel factors favors GM. Moreover, the aims of

§ 1782 would not be served by granting the application. SPS seeks to "put an end

to" its ongoing discovery proceeding, D.I. 2 at 14, but that is not§ 1782(a)'s role.

Section l 782(a) helps parties obtain discovery in the United States, where foreign

tribunals lack jurisdiction. See Intel, 542 U.S. at 264 (noting that evidence from

"nonparticipants in foreign proceedings ... may be unobtainable absent§ 1782(a)

aid"). SPS admits that it seeks largely the same information here and before the

Sao Paulo court. See D.I. 2 at 4. And a comparison of what SPS seeks here, D.I.

2-1 at 9-11 (seeking, e.g., audit reports, accounting records, and information about

administrative proceedings related to the tax overpayments at issue), and there, D.I.

2-1 at 65 (seeking, e.g., audit reports, accounting records, and information about

administrative proceedings related to the same tax overpayments), bolsters that

conclusion.

      NOW THEREFORE, for these reasons, IT IS HEREBY ORDERED that

SPS's Application for an Order Under 28 U.S.C. § 1782 Permitting SPS to Issue a

Subpoena for the Taking of a Deposition and the Production of Documents from

GM, Deloitte and E&Y (D.I. 1) is DENIED.




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                Exhibit B
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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE


IN RE LETTER OF REQUEST
FROM SPS CORP 1                              21-mc-565-CFC




                           MEMORANDUM ORDER

      SPS Corp 1 - Fundo de Investimento em Direitos Credit6rios Nao

Padronizados (SPS) has moved for reconsideration ofmy decision on August 30,

2022 to deny SPS's application brought pursuant to 28 U.S.C. § 1782(a) for an

order authorizing it to subpoena General Motors Company (GM) and its auditors to

obtain discovery for use in Brazilian court proceedings. D.I. 31 at 1.

      At the time I issued the August 30 Order, a "preliminary discovery lawsuit"

filed by SPS to obtain essentially the same discovery it sought with its § 1782

application was pending in the 18th Civil Court of the Central Court of the State of

Sao Paulo (the Sao Paulo court). D.I. 30 at 3. I denied SPS's § 1782 application in

part because the Sao Paulo court proceeding was still pending. See D.I. 30 at 5-9.

On September 1, 2022, the Sao Paulo court issued an order denying SPS' s

preliminary discovery lawsuit. D.I. 31-1 at 4. SPS argues that the Sao Paulo

court's order is "new evidence" that justifies reconsideration of my August 30

Order. D.I. 31 at 1-2.
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      "The purpose of a motion for reconsideration is to correct manifest errors of

law or fact or to present newly discovered evidence." Harsco Corp. v. Zlotnicki,

779 F.2d 906, 909 (3d Cir. 1985) (citation omitted). "Where evidence is not newly

discovered, a party may not submit that evidence in support of a motion for

reconsideration." Id. (citation omitted). The term "newly discovered evidence"

refers to "evidence of facts in existence at the time of[the party'sJ original filing."

Lusick v. Lawrence, 439 F. App'x 97, 99 (3d Cir. 2011) (emphasis added); see also

Bohus v. Beloff, 950 F.2d 919, 930 (3d Cir. 1991) ("[T]he term 'newly discovered

evidence' refers to 'evidence of facts in existence at the time of [the proceeding] of

which the aggrieved party was excusably ignorant."') (emphasis added and citation

omitted).

      SPS therefore may not submit the Sao Paulo court's September 1 Order in

support of its motion, and I will not reconsider the August 3 0 Order. Permitting

the reconsideration of an order based on evidence developed after the order was

issued cannot be reconciled with the important values of finality and judicial

efficiency. See Stutson v. United States, 516 U.S. 193, 197 (1996) ("Judicial

efficiency and finality are important values."). And it would encourage parties to

do what SPS did here-bring parallel proceedings in a foreign court and a federal

district court for the same discovery. SPS made a tactical decision to file-and

thus make it necessary for this Court to expend precious resources to adjudicate-


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its § 1782 application during the pendency of the Sao Paulo court discovery

proceedings. Having caused two courts to review and rule on its discovery

requests, SPS must now live with the consequences of that decision.

      NOW THEREFORE, at Wilmington this Seventh day of November in 2022,

IT IS HEREBY ORDERED that SPS Corp 1 - Fundo de Investimento em

Direitos Credit6rios Nao Padronizados's Motion for Reconsideration of Order

Denying Application for Leave to Obtain Discovery for Use in a Foreign

Proceeding Pursuant to 28 U.S.C. § 1782 (D.1. 31) is DENIED.




                                            UNITED STATES DIST




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